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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

GARLIN LEWIS MINOR.

Plaintiff, 18 C 0496

Vs. Honorable Judge
Charles R. Norgle
R. WILLIAMS, NEWWORLD EBOIGBE,
MARTIN F. CAHILLANE, CHARITY NWARU,
JOHN DOE #1, JANE DOE #2, and COOK
COUNTY,

Defendants.
STIPULATION OF DISMISSAL

IT IS HEREBY stipulated and agreed by and between the parties, Plaintiff GARLIN
LEWIS MINOR, and Defendants Cook County, Newworld Eboigbe, Martin Cahillane, Charity
Nwaru, and Ronica Williams, that the above captioned cause of action be dismissed with prejudice
pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party bearing its own
atlorneys’ fees and costs.

Date this_Q% day of 14 2020

By: Bakin fous Iprn By: Bora! Hridesi lane SP

GARLIN LEWIS MINOR Raana V. Haidari
Plaintiff Assistant State’s Attomey
Attomey for Defendant
